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                EXHIBIT B
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                                  19331



                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                           Charlottesville Division

   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, APRIL MUNIZ,
   MARCUS MARTIN, NATALIE ROMERO,
   CHELSEA ALVARADO, THOMAS BAKER
   and JOHN DOE,


                          Plaintiffs,
   v.


   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES
   ALEX FIELDS, JR., VANGUARD              Civil Action No. 3:17-cv-00072-NKM
   AMERICA, ANDREW ANGLIN,
   MOONBASE HOLDINGS, LLC, ROBERT
   “AZZMADOR” RAY, NATHAN DAMIGO,
   ELLIOT KLINE a/k/a/ ELI MOSLEY,
   IDENTITY EVROPA, MATTHEW
   HEIMBACH, MATTHEW PARROTT a/k/a
   DAVID MATTHEW PARROTT,
   TRADITIONALIST WORKER PARTY,
   MICHAEL HILL, MICHAEL TUBBS,
   LEAGUE OF THE SOUTH, JEFF SCHOEP,
   NATIONAL SOCIALIST MOVEMENT,
   NATIONALIST FRONT, AUGUSTUS SOL
   INVICTUS, FRATERNAL ORDER OF THE
   ALT-KNIGHTS, MICHAEL “ENOCH”
   PEINOVICH, LOYAL WHITE KNIGHTS OF
   THE KU KLUX KLAN, and EAST COAST
   KNIGHTS OF THE KU KLUX KLAN a/k/a
   EAST COAST KNIGHTS OF THE TRUE
   INVISIBLE EMPIRE,




                          Defendants.


                     DECLARATION OF JESSICA PHILLIPS
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        I, Jessica Phillips, on this 4th day of October, 2021, pursuant to 28 U.S.C. § 1746, declare

 as follows:

        1.      I am a Partner at the law firm at Paul, Weiss, Rifkind, Wharton & Garrison LLP,

 one of the law firms representing the Plaintiffs in this action.

        2.      I am a member in good standing of the District of Columbia and Illinois Bars. I

 have been admitted to appear pro hac vice before this Court for and on behalf of the Plaintiffs in

 the above-captioned action.

        3.      On October 1, 2021, I met and conferred with William Edward ReBrook, counsel

 for Defendant Jeff Schoep regarding his client’s amended witness list [ECF No. 1107].

        4.      I told Mr. ReBrook that Plaintiffs would move to preclude any witnesses that had

 not been properly to disclosed to Plaintiffs, unless Defendant Schoep made any previously

 undisclosed witnesses immediately available for depositions.

        5.      In response, Mr. ReBrook stated that he would try to make Daryl Davis, a

 previously undisclosed witness, available for a deposition prior to trial.

                                                           /s/ Jessica Phillips
  Executed on: October 4, 2021
  Washington, D.C.                                     Jessica Phillips




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